                      Case 2:20-cv-01405-JCM-VCF Document 53 Filed 09/25/20 Page 1 of 1



                 1
                 2
                 3
                 4                                UNITED STATES DISTRICT COURT
                 5                                       DISTRICT OF NEVADA
                 6                                                  ***
                 7    TI PAYMENTS LLC,                                     Case No. 2:20-CV-1405 JCM (VCF)
                 8                                         Plaintiff(s),                      ORDER
                 9           v.
               10     BEYOND WEALTH PTE LLC,
               11                                        Defendant(s).
               12
               13            Presently before the court is Eugene Rome’s (“petitioner”) verified petition for

               14     permission to practice pro hac vice. (ECF No. 45).
                             On September 10, 2020, petitioner filed the instant petition. (Id.). This court denies the
               15
                      petition as defective. LR IA 11-2(h). Specifically, Bradley Slighting is designated as resident
               16
                      Nevada counsel for this application, but Gregory C. Baum signed for Mr. Slighting. (Id. at 5).
               17
                      This court is uncertain of Mr. Baum’s role or involvement in this litigation from the face of this
               18
                      pro hac vice application.
               19            Petitioner shall file, within seven (7) days of the entry of this order, a verified petition
               20     that addresses this defect. Failure to timely comply will result in “the striking of any and all
               21     documents previously filed by the attorney.” LR IA 11-2(j).
               22            Accordingly,

               23            IT IS SO ORDERED.
                             DATED September 25, 2020.
               24
               25                                                  __________________________________________
                                                                   UNITED STATES DISTRICT JUDGE
               26
               27
               28

James C. Mahan
U.S. District Judge
